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July 10, 2024

VIA ECF FILING


Hon. Brett H. Ludwig
United States District Judge
Eastern District of Wisconsin

Re: Case 2:24-cv-00704-BHL Coalition to March on the RNC v. City of Milwaukee et al


Dear Judge Ludwig:

This letter is in response to your request that the parties notify the Court of the necessity of
further proceedings in the case within 48 hours after the Court ruled on the preliminary
injunction motion. For the Plaintiff, it will be acceptable for the Court to proceed according to
Rule 65(a)(2), Fed. R. Civ. Pro., and reduce its rulings to a final judgment. No further
proceedings on the merits should be necessary.

Sincerely,

/s R. Timothy Muth

Counsel for Plaintiff Coalition to March on the RNC.




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